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8                             IN THE UNITED STATES DISTRICT COURT

9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,

11                  Respondent,                           No. CR S-02-0079 FCD GGH P

12          vs.

13   WESLEY SINE,

14                  Movant.                               ORDER

15                                               /

16                  The court notes that oral argument has been calendared on defendant Sine’s

17   appeal for September 11, 2006. In light of the July 17, 2006 letter filed by the United States

18   Attorney, the court’s order for the United States to file an answer to what was deemed a 28

19   U.S.C. § 2255 motion is vacated. Further orders will be issued subsequent to the decision of the

20   Ninth Circuit on appeal. Counsel for the United States shall notify the undersigned when an

21   appellate decision is reached.

22   DATED: 9/8/06                                        /s/ Gregory G. Hollows

23                                                        GREGORY G. HOLLOWS
                                                          UNITED STATES MAGISTRATE JUDGE
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     sine0079.vac
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